

Hall, Judge.

-The belt mode of receiving testimony, is certainly from the mouths of the witnesses themselves; and if any other mode is substituted in the room of that, it ought to be *523guarded with much precaution. It may sometimes be convenient, but it is not of necessity, that depositions should be written by counsel concerned in the cause. The best may sometimes feel a bias that inclines them too much to one side, without being sensible of it; but if the case was otherwise, those more relaxed in principle ought not to be trusted. This remark applies to mankind generally. Testimony is presumed to flow from disinterested sources; and the medium through which counts of justice receive it, ought to be as unexceptionable as the nature of the case will admit of. This idea corresponds with the regulations prescribed by Congress, for taking testimony to be read in the Federal Courts; and although those regulations, as such, have no binding force in our courts, set the reason on which they are founded should be duly appreciated.
By the Court.—These depositions were properly rejected by the District Court, and ought to be suppressed.
